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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001      03 MDL 1570 (GBD)(SN)
                                                   ECF Case


This document relates to:

Bakahityar Kamardinova, et al. v. Islamic Republic of Iran, No. 1:18-cv-05339 (GBD)(SN)

                            [PROPOSED] ORDER OF JUDGMENT

         Upon consideration of the evidence submitted by Plaintiffs in filings with this Court on

May 19, 2011, July 13, 2011 and August 19, 2011, and the evidence presented at the

December 15, 2011 hearing on liability, together with the entire record in this case, it is hereby;

         ORDERED that the Kamardinova Plaintiffs’ Motion for Judgment by Default Against

the Islamic Republic of Iran is GRANTED and final judgment on liability is entered in favor of

the Kamardinova Plaintiffs in Bakahityar Kamardinova, et al. v. Islamic Republic of Iran, No.

1:18-cv-05339 (GBD)(SN) and against the Islamic Republic of Iran;

         ORDERED that the Kamardinova Plaintiffs are hereby referred to Magistrate Judge

Sarah Netburn to resolve any remaining issues, including but not limited to damages, both

compensatory and punitive.


Dated:     New York, New York
                       , 2019

                                              SO ORDERED:




                                              GEORGE B. DANIELS
                                              UNITED STATES DISTRICT JUDGE




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